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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION


FLEISCHER STUDIOS, INC.,
                                                              CASE NO.: 1:22-CV-01478
         PLAINTIFF,

V.
                                                              JUDGE GARY FEINERMAN
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                              MAGISTRATE JUDGE MARIA VALDEZ
         DEFENDANTS.


                              PRELIMINARY INJUNCTION ORDER
            THIS CAUSE being before the Court on Plaintiff, Fleischer Studios, Inc.’s (“Fleischer”

     or “Plaintiff”) Motion for a Preliminary Injunction, and this Court having heard the evidence

     before it hereby GRANTS Plaintiff’s Motion for Entry of a Preliminary Injunction in its entirety

     against the defendants identified on Schedule A (collectively, the “Defendants”).

            THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants since

     the Defendants directly target their business activities toward consumers in the United States,

     including Illinois. “In the context of cases like this one, that means a plaintiff must show that each

     defendant is actually operating an interactive website that is accessible in Illinois and that each

     defendant has aimed such site at Illinois by standing ready, willing and able to ship its counterfeit

     goods to customers in Illinois in particular (or otherwise has some sufficient voluntary contacts

     with the state).” Am. Bridal & Prom Indus. Ass’n v. P’ships & Unincorporated Ass’ns Identified

     on Schedule A, 192 F.Supp.3d 924, 934 (N.D. Ill. 2016). In this case, Plaintiff has presented

     screenshot evidence that each Defendant is reaching out to do business with Illinois residents by

     operating one or more commercial, interactive Internet Stores through which Illinois residents can

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and do purchase products using counterfeit versions of Plaintiffs’ Trademarks and Copyrights

(collectively referred to as “Defendant Internet Store” or “Seller Aliases”). See Docket No. 11,

Exhibit 3 to the Declaration of Paul Varley, which includes screenshot evidence confirming that

each defendant online marketplace account does stand ready, willing and able to ship its counterfeit

goods to customers in Illinois bearing infringing and/or counterfeit versions of the Betty Boop

Trademarks and Copyrights (“Betty Boop Trademarks” and “Betty Boop Copyrights”).

        THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

Procedure 65. Evidence submitted in support of this Motion and in support of Plaintiff’s previously

granted Motion for a Temporary Restraining Order establishes that Fleischer has a likelihood of

success on the merits; that no remedy at law exists; and that Fleischer will suffer irreparable harm

if the injunction is not granted.

        Specifically, Fleischer has proved a prima facie case of trademark infringement because:

(1) the Betty Boop Trademarks are distinctive marks and registered with the U.S. Patent and

Trademark Office on the Principal Register; (2) Plaintiff’s federally registered trademarks are valid

and in full force and effect; (3) Defendants are not licensed or authorized to use any of the Betty

Boop Trademarks and/or Copyrights; and, (4) Defendants’ use of the Betty Boop Trademarks is

causing a likelihood of confusion as to the origin or sponsorship of Defendants’ products with

Fleischer. Furthermore, Defendants’ continued and unauthorized use of the Betty Boop

Trademarks irreparably harms Fleischer through diminished goodwill and brand confidence,

damage to Plaintiff’s reputation, loss of exclusivity, and loss of future sales. Monetary damages

fail to address such damage; and, therefore, Fleischer has an inadequate remedy at law.


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Moreover, the public interest is served by entry of this Preliminary Injunction to dispel the public

confusion created by Defendants’ actions. Accordingly, this Court orders that:

       1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily enjoined and restrained from:

        a. using Plaintiff’s Betty Boop Trademarks, Copyrights and/or any reproductions,

            counterfeit copies or colorable imitations thereof, in any manner in connection with

            the distribution, marketing, advertising, offering for sale, or sale of any product that is

            not a genuine Fleischer product or not authorized by Fleischer to be sold in connection

            with Plaintiff’s Betty Boop Trademarks and/or Copyrights;

       b.   passing off, inducing, or enabling others to sell or pass off any product as a genuine

            Fleischer product or any other product produced by Fleischer, that is not Plaintiff’s nor

            produced under the authorization, control or supervision of Fleischer nor approved by

            Fleischer for sale under Plaintiff’s Betty Boop Trademarks and/or Copyrights;

       c.   committing any acts calculated to cause consumers to believe that Defendants’ products

            are those sold under the authorization, control, or supervision of Fleischer, or are

            sponsored by, approved by, or otherwise connected with Fleischer;

       d.   further infringing Plaintiff’s Betty Boop Trademarks and/or Copyrights and damaging

            Fleischer’s goodwill;

       e.   otherwise competing unfairly with Fleischer in any manner;

       f.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

            distributing, returning, or otherwise disposing of, in any manner, products or inventory

            not manufactured by or for Fleischer, nor authorized by Fleischer to be sold or offered


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            for sale, and which bear any of Plaintiff’s Betty Boop Trademarks, Copyrights, and/or

            any reproductions, counterfeit copies, or colorable imitations thereof;

       g.   using, linking to, transferring, selling, exercising control over, or otherwise owning the

            Defendant Internet Stores or any other domain name or online marketplace account that

            is being used to sell or is the means by which Defendants could continue to sell

            Counterfeit Betty Boop Products; and

       h.   operating and/or hosting websites at the Defendant Internet Stores and any other

            domain names registered or operated by Defendants that are involved with the

            distribution, marketing, advertising, offering for sale, or sale of any product bearing

            Plaintiff’s Betty Boop Trademarks or any reproductions, counterfeit copies or

            colorable imitations thereof that is not a genuine Fleischer product or not authorized

            by Fleischer to be sold in connection with Plaintiff’s Betty Boop Trademarks.

       2.      Those in privity with Defendants and with actual notice of this Order, including

any online marketplaces such as Amazon, iOffer and Alibaba Group Holding Ltd., Alipay.com

Co., Ltd. and any related Alibaba entities (collectively, “Alibaba”), social media platforms,

Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing and Yahoo,

web hosts for the Defendant Internet Stores, and domain name registrars, shall within three (3)

business days of receipt of this Order:

            a. disable and cease providing services for any accounts through which Defendants

                engage in the sale of counterfeit and infringing goods using the Betty Boop

                Trademarks and/or Copyrights, including any accounts associated with the

                Defendants listed on Schedule A;




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            b. disable and cease displaying any advertisements used by or associated with

                Defendants in connection with the sale of counterfeit and infringing goods using

                the Betty Boop Trademarks and/or Copyrights; and

            c. take all steps necessary to prevent links to the Defendant Internet Stores, identified

                on the Schedule A, from displaying in search results, including, but not limited to,

                removing links to the Defendant Internet Stores from any search index.

       3.      Defendants and any third party with actual notice of this Order who is providing

services for any of the Defendants, or in connection with any of Defendants’ websites at the

Defendant Internet Stores or other websites operated by Defendants, including, without limitation,

any online marketplace platforms such as iOffer and Alibaba, advertisers, Facebook, Internet

Service Providers (“ISP”), web hosts, back-end service providers, web designers, sponsored search

engine or ad-word providers, banks, merchant account providers, including PayPal, Alibaba,

Western Union, third party processors and other payment processing service providers, shippers,

and domain name registrars (collectively, the “Third Party Providers”) shall, within five (5)

business days after receipt of such notice, provide to Fleischer expedited discovery, including

copies of all documents and records in such person’s or entity’s possession or control relating to:

            a. The identities and locations of Defendants, their agents, servants, employees,

               confederates, attorneys, and any persons acting in concert or participation with

               them, including all known contact information;

            b. the nature of Defendants’ operations and all associated sales and financial

               information, including, without limitation, identifying information associated with

               the Defendant Internet Stores, and Defendants’ financial accounts, as well as




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              providing a full accounting of Defendants’ sales and listing history related to their

              respective Defendant Internet Stores;

            c. Defendants’ websites and/or any online marketplace accounts;

            d. The Defendant Internet Stores or any domain name registered by Defendants; and

            e. Any financial accounts owned or controlled by Defendants, including their agents,

              servants, employees, confederates, attorneys, and any persons acting in concert or

              participation with them, including such accounts residing with or under the control

              of any banks, savings and loan associations, payment processors or other financial

              institutions, including, without limitation, PayPal, WISH, Amazon, Alibaba,

              Western Union, or other merchant account providers, payment providers, third

              party processors, and credit card associations (e.g., MasterCard and VISA).

       4.      Defendants and any persons in active concert or participation with them who have

actual notice of this Order shall be temporarily restrained and enjoined from transferring or

disposing of any money or other of Defendants’ assets until further ordered by this Court.

       5.      eBay, Inc. (“eBay”), PayPal, Inc. (“PayPal”), ContextLogic, Inc. (“WISH”),

Amazon Payments, Inc. (“Amazon”) and Alipay US, Inc. (“Alipay”) shall, or any other party

and/or marketplace, or payment processor in privity with Defendants, within two (2) business days

of receipt of this Order, for any Defendant or any of Defendants’ online marketplace accounts or

websites:

        a. Locate all accounts and funds connected to Defendants, Defendants Internet Stores or

            Defendants’ websites, including, but not limited to, any eBay, PayPal, WISH, Amazon,

            and Alipay accounts connected to the information listed on Schedule A; and




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         b. Restrain and enjoin any such accounts or funds that are non-U.S. foreign based from

              transferring or disposing of any money or other of Defendants’ assets until further

              ordered by this Court.

       6.        Any banks, savings and loan associations, payment processors, or other financial

institutions, for any Defendant or any of Defendants’ online marketplace accounts or websites,

shall within two (2) business days of receipt of this Order:

            a. Locate all accounts and funds connected to Defendants, Defendants’ online

              marketplace accounts or Defendants’ websites, including, but not limited to, any

              accounts connected to the information listed on Schedule A; and

         b. Restrain and enjoin such accounts from receiving, transferring or disposing of any

              money or other of Defendants’ assets until further ordered by this Court.

       7.        Fleischer may provide notice of these proceedings to Defendants, including notice

of the preliminary injunction hearing and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by

electronically publishing a link to the Complaint, this Order and other relevant documents on a

website, and/or by sending an e-mail to the e-mail addresses provided for Defendants by third

parties that includes a link to said website. The Clerk of Court is directed to issue a single original

summons in the name of “238 floor mat Store and all other Defendants identified on Schedule A

to the Complaint” that shall apply to all Defendants. The combination of providing notice via

electronic publication or e-mail, along with any notice that Defendants receive from domain name

registrars and payment processors, shall constitute notice reasonably calculated under all

circumstances to apprise Defendants of the pendency of the action and afford them the opportunity

to present their objections.




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       8.      The Clerk of Court is directed to unseal Plaintiff’s Amended Complaint, Exhibit 1

to the Complaint, Exhibit 2 to the Complaint, Schedule A to the Complaint, Motion for Temporary

Restraining Order and Motion to Extend the Temporary Restraining Order and the memorandum

and supporting pleadings and exhibits, Motion for Electronic Service of Process and its

memorandum and supporting pleadings and exhibits, and the Temporary Restraining Order and

Extension of the Temporary Restraining Order.

       9.      Any Defendants that are subject to this Order may appear and move to dissolve or

modify the Order on two days’ notice to Fleischer or on shorter notice as set by this Court.

       10.     The $10,000 bond posted by Fleischer shall remain with the Court until a Final

disposition of this case or until this Preliminary Injunction is terminated.


Dated: April 27, 2022


                                       _____________________________________
                                       U.S. District Court Judge Gary Feinerman




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